Case 4:09-cV-01148 Document 65 Filed in TXSD on 03/09/12 Page 1 of 2

UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF TEXAS
H`OUSTON DIVISION

GLENN BROWN AND
BE'I`SY BROWN
P!ainlf]j€r,

v. CIVIL ACTION H-O9-I 148

CONT[NENTAL A[RLINES, lNC.
Defendanls.

C¢O=LO==O’¢\¢O’J=O’J:O'JGO'J&CDW;‘

 

 

TI'IE CONT[NENTAL PILOTS RET[R_EMENT
PLAN ADMlNlSTRATIVE COMMITTEE, EI Ul,
Plaz`n!ijj@.

v.

(Member Case H-09-1529)

GLI;NN BRowN, er a!.,
Defendmz!s.

&O’iWEO'JE-OJDO'}-'-U=£Q'ICO'J

AGREED TAKE NOTH]`NG JUDGN[ENT OF DISN[ISSAL WITH PRE.]`UDICE

l-Iaving considered the Joint Sripulation ofDisrnissal With Prejudioe filed by Defendants
and Counter-Plainti'f`fs Glenn Brown, Betsy Brown, Cindy Ernst, .Iames Ernst, Eddie Lindsey,
Delores N. Lindsey, Christine Lockert, James Lockert, Douglas Schufl, Marjorie Sohul], Jarnes
Via], and Brenda M. Vial, and Plaintiffs and Counter-Defendants Continenta] Airlines, lnc. and
the Continental Pilots Retirement Plan Administrative Comrnittee, in which the parties have
agreed to the entry of this Judgment, it is therefore ORDERED that

This action shall be and is hereby DISMISSED WITH PREJUDICE as to all causes of

action between the foregoing named parties, each such party to bear its own costs.

Case 4:09-cV-01148 Document 65 Filed in TXSD on 03/09/12 Page 2 of 2

This is a FINAL TAKE NOTH]NG IUDGMENT of dismissal of this action in its entirety

as to ali partiesl
Signed at Houston, Texas on March 9, 2012.

ora ’H`.'Mi`ii@r
U `ted State District Judge

 

